     Case 6:20-cv-00660-JDK Document 24 Filed 12/31/20 Page 1 of 1 PageID #: 259




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

THE HONORABLE LOUIE                          §
GOHMERT, et al.,                             §
                                             §
        Plaintiffs,                          §
                                             §
v.                                           §   Case No. 6:20-cv-660-JDK
                                             §
THE HONORABLE MICHAEL R.                     §
PENCE,                                       §
                                             §
        Defendant.                           §

                       ORDER GRANTING LEAVE FOR EXCESS PAGES
           Before the Court is Plaintiffs’ motion to exceed page limits in their reply

 (Docket No. 23).         The Court hereby GRANTS the motion and ORDERS that

 Plaintiffs may file a brief of up to fifty pages by Friday, January 1, 2021 at 9:00 a.m.

 addressing issues raised by Defendant, Intervenors, and Amicus Curiae.



        So ordered and signed on this
        Dec 31, 2020
